Case 22-22005-CMB     Doc 122 Filed 03/22/23 Entered 03/23/23 00:26:41   Desc
                    Imaged Certificate of Notice Page 1 of 4




                                         Related to: Document No. 100




                    20th         March
Case 22-22005-CMB     Doc 122 Filed 03/22/23 Entered 03/23/23 00:26:41   Desc
                    Imaged Certificate of Notice Page 2 of 4




                                            Judge

                                      FILED
                                      3/20/23 3:02 pm
                                      CLERK
                                      U.S. BANKRUPTCY
                                      COURT - :'3$
           Case 22-22005-CMB                      Doc 122 Filed 03/22/23 Entered 03/23/23 00:26:41                                               Desc
                                                Imaged Certificate of Notice Page 3 of 4
                                                              United States Bankruptcy Court
                                                              Western District of Pennsylvania
In re:                                                                                                                 Case No. 22-22005-CMB
Lockhart Chemical Company                                                                                              Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0315-2                                                  User: auto                                                                  Page 1 of 2
Date Rcvd: Mar 20, 2023                                               Form ID: pdf900                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 22, 2023:
Recip ID                 Recipient Name and Address
db                     + Lockhart Chemical Company, 8150 Perry Highway, Suite 307, Pittsburgh, PA 15237-5232

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 22, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 20, 2023 at the address(es) listed
below:
Name                               Email Address
Arthur Osueke
                                   on behalf of Creditor Pension Benefit Guaranty Corporation osueke.arthur@pbgc.gov

Catherine Beideman Heitzenrater
                                   on behalf of Creditor CHUBB COMPANIES cheitzenrater@duanemorris.com

David L. Fuchs
                                   on behalf of Trustee Natalie Lutz Cardiello dfuchs@fuchslawoffice.com 9924@notices.nextchapterbk.com

Ethan Draper
                                   on behalf of Creditor Pension Benefit Guaranty Corporation draper.ethan@pbgc.gov

George W. Fitting
                                   on behalf of Creditor American Refining Group Inc. gwfitting@duanemorris.com

Gwenyth S. Gamble Jarvi
                                   on behalf of Debtor Lockhart Chemical Company ggamblejarvi@camlev.com
            Case 22-22005-CMB                        Doc 122 Filed 03/22/23 Entered 03/23/23 00:26:41                                      Desc
                                                   Imaged Certificate of Notice Page 4 of 4
District/off: 0315-2                                                     User: auto                                                         Page 2 of 2
Date Rcvd: Mar 20, 2023                                                  Form ID: pdf900                                                   Total Noticed: 1
                                      hpenn@camlev.com;jboyle@camlev.com;kmonahan@camlev.com;tmatiasic@yahoo.com;candl@camlev.com

Jill Locnikar
                                      on behalf of Interested Party United States of America jill.locnikar@usdoj.gov
                                      patricia.fitzgerald@usdoj.gov;caseview.ecf@usdoj.gov;kassi.horton@usdoj.gov

Joseph N Kuptz
                                      on behalf of Creditor City of Flint jkuptz@cityofflint.com

Kathryn L. Harrison
                                      on behalf of Debtor Lockhart Chemical Company klh@camlev.com
                                      jmb@camlev.com;hlp@camlev.com;candl@camlev.com;tmatiasic@yahoo.com;kmonahan@camlev.com

Keith David Underkoffler
                                      on behalf of Creditor Michigan Department of Environment Great Lakes, and Energy underkofflerk@michigan.gov,
                                      kepicc1@michigan.gov

Kenneth M. Argentieri
                                      on behalf of Creditor CHUBB COMPANIES kmargentieri@duanemorris.com eeburke@duanemorris.com

Keri P. Ebeck
                                      on behalf of Creditor Duquesne Light Company kebeck@bernsteinlaw.com jbluemle@bernsteinlaw.com

Matthew Carmen Indrisano
                                      on behalf of Interested Party United States of America matthew.indrisano@usdoj.gov

Megen E. Miller
                                      on behalf of Creditor Michigan Department of Environment Great Lakes, and Energy millerm59@michigan.gov,
                                      kepicc1@michigan.gov

Natalie Lutz Cardiello
                                      ncardiello@cardiello-law.com ncardiello@ecf.axosfs.com

Natalie Lutz Cardiello
                                      on behalf of Trustee Natalie Lutz Cardiello ncardiello@cardiello-law.com ncardiello@ecf.axosfs.com

Office of the United States Trustee
                                      ustpregion03.pi.ecf@usdoj.gov

Paul J. Cordaro
                                      on behalf of Debtor Lockhart Chemical Company pjc@camlev.com
                                      candl@camlev.com;tmatiasic@yahoo.com;hlp@camlev.com;jmb@camlev.com;kmonahan@camlev.com

Stephen B. Grow
                                      on behalf of Creditor Warner Norcross + Judd LLP sgrow@wnj.com hversteeg@wnj.com

William C. Price
                                      on behalf of Creditor Neyer Tiseo & Hindo, Ltd. wprice@clarkhill.com, aporter@clarkhill.com


TOTAL: 20
